  Case 0:17-cv-62419-JEM Document 1 Entered on FLSD Docket 12/08/2017 Page 1 of 5


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 Case 0:17-cv-62419-JEM Document 1 Entered on FLSD Docket 12/08/2017 Page 2 of 5


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I1.     BasisforJurisdiction

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                IftheBasisforJurisdictionIsa FederalQuestion
                Listthespecitic federalstatutes,federaltreaties, and/orprovisionsofthe United StatesConstittltion that
                areatissue in thiscase.




        B.      Ifthe Basis forJurisdiction Is D iversity of Citizenship

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                 For Parties svithoutan A ttorney

                 Iagree to providethe Clerk'sOftqcewithany changesto my addresswhere case-rclated papersmay be
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